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                    UNITED STATES DISTRICT COURT

                    EASTERN DISTRICT OF ARKANSAS
                                                                   FILED
                                                                 U.S. DISTRICT COURT
                         WESTERN DIVISION                    EASTERN DiSTR!CT ARKANSAS




UNITED STATES OF                  §        CRIMINAL ACTION NUMBER

AMERICA,                          §

           Plaintiff,             §        4:97CR00200-03-JHL

V.                                §

JAMES GOOLSBY,                    §

           Defendant.             §




                 DEFENDANT'S EMERGENCY MOTION FOR

 ~   COMPASSIONATE RELEASE PURSUANT TO 18 U.S.C. § 3582

           (c) (1) (A) (i) AND FOR APPOINTMENT OF COUNSEL



TO THE HONORABLE JUDGE OF SAID COURT:

     NOW COMES, James Goolsby (hereinafter "Defendant"),

and hereby through PRO SE moves this Honorable Court to

Grant him Compassionate Release under the Newly Amended

Changes by Congress to 18 U.S.C.      §   3582   (c)   (1)   (A), and in

support thereof, would respectfully show this Honorable

Court as follows:
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                           I.   INTRODUCTION



       In support of the foregoing Motion, Defendant will

first of all inform this Honorable Court that he is

unskilled and is a layman at the Profession of Law and is

therefore being assisted by another inmate.           Both the fellow

inmate and Defendant, are layman at the Profession of Law

and would therefore ask that this Court recognize the

standards set forth by the United States Supreme Court in

HAINES v. KERNER, 404 U.S. 519, 92 S.Ct. 594, 30 L.Ed.2d 652

(1972), and in doing so, not hold Defendant herein to the

rigid standards of a Professional Legal Litigator.



 II.    REASONS FOR GRANTING MOTION AND APPOINTMENT OF COUNSEL



       Defendant herein, raised concerns to the Warden of his

place of confinement in reference to COVID-19 posing an

unreasonable risk of serious damage to his Future Health,

that could further cause his death in prison and thus

requested COMPASSIONATE RELEASE, but the Warden denied such

request.



       However, and very sadly, Defendant has now contracted

the deadly virus and the situation has changed from a

concerning risk into a life-threatening emergency.

Defendant's heightened risks require him to have access to

advanced medical care, something that USP Leavenworth will
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not and cannot provide.      Defendant remains in his cell while

the facility is on a modifi ed lockdown, as there are more

than 500 positive inmat es , including staff members at USP

Leavenworth.     See, https://www.bop.gov.coronavirus/.

Defendant is now reporting serious difficulty breathing, by

having shortness of breath, and had never felt sicker in his

life.     Defenda nt also reports that he is receiving limited

medical care.



        The fact that USP Leavenworth is experiencing a major

COVID-19 outbreak is evidence enough to show that the

facility is unequipped to care for someone like Defendant.

In addition, courts in other compassionate release cases

have rightly observed that the BOP is not able to properly

care for prisoners who have serious medical issu es .        See,

e.g., UNITED STATES v. VASQUEZ-TORRES, No. 19-cr-20342, 2020

WL 4019038    (S.D. Fla. July 10, 2020) (releasing defendant

with diabetes, hypertension, and other issues, due to " BOP ' s

apparent inability to adequately treat Def e ndant's COVID-19

infection"); UNITED STATES v. DELATEUR, No. 18-cr-5364, 2020

WL 3989175, at *2    (W.D. Wash. July 1, 2020) (granting release

because defendant ''presents multiple health issues that

raise serious questions regarding the ability to provide

adequate measur e s and medical care while incarcerated'').



     Furthermore, even if USP Leavenworth is able to manage

Defendant's care for this infection, Defennant may be at
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risk of REINFECTION should he remain incarcerated; Defendant

will be able to more efffectively avoid REINFECTION upon

release than if h e remains incarcerated at USP Leavenworth.

It is currently an open question in the scientific and

medical communities whether individuals who contract

COVID-19 develop any sort of immunity, and if they do, how

long such immunity might last.       However, researchers have

recently confirmed the FIRST CASE OF COVID-19 [R]EINFECTION

in the United States.     See, ERIKA EDWARDS & AKSHAY SYAL,

COVID-19 REINFECTION REPORTED IN NEVADA PATIENT, RESEARCHERS

SAY, NBC NEWS   (Aug. 28, 2020), https://nbcnews.to/33n9WdG.

Notably, the re-infec ted patient suffered a more severe case

of COVID-19 the second time he was infected.         Id.



     In recognition of the developing knowledge regarding

immunity and reinfection, numerous courts have granted

compassionate releas e to individuals who have tested

positive for COVID-19.     See, e.g., UNITED STATES v. JACORS 1

No. 19-cr-00149, 2020 WL 3637625, at *5       (S.D. Iowa, July 2,

2020) ( "Other Courts have found that · a defendant can present

a sufficiently extraordinary and compelling r easo n for

release if h e or she receives inadequate care following a

COVID-19 diagnosis or has underlying health conditions that

can make that diagnosis more deadly ...       In other words,

COVID-19 diagnosis does not moot a defendant's request for

compassionate release"); UNITED STATES v. PLANK, No.

17-20026-SWL, 2020 WL 3618858, at *3      (D. Kan. July 2,
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2020) (noting exposure to COVID-19 outbreak within prison

facility creates risk of worsening illness even where a

defendant already contracted the virus); UNITED STATES v.

YELLIN, No. 15-cr-03181, 2020 WL 3488738, at *3          (S.D. Cal.

June 26, 2020) (granting compassionate release to a defendant

who tested positive and did not develop severe symptoms

because "the possibility of REINFECTION PERSISTS"); UNITED

STATES v. SCHAFFER, 13-cr-00220, 2020 WL 3481562, at *1-2

(N.D. Cal. June 24, 2020) (granting compassionate release to

a defendant who recovered from COVID-19, noting "the

scientific community has. not, as of this date, determined

whether a prior infection produces immunity or affects the

severity of any potential subsequent inf ec tion"); UNITED

STATES v. DAVIS, No. 15-cr-00062, 2020 WL 3443400, at *2

(E.D. Cal. ,Tune 23, 2020) ("The prevalence of the disease in

this facility puts defendant at great and particularized

risk due to h:i.s well-documented, serious, and ongoing health

conditions. Although the Government argues that defendant's

motion is moot because h e has already contracted COVID-19

and is currently b e ing treated, such an argument ignores th e

possibility that defendant may become infected again even if

he fully recove:~rs") .



     Defendant argues that he needs an Attorney that may

properly represent him in a Motion under 18 U.S.C. § 3582

(c) (1) (A), based on the fact that his institution finds

itself under a Modifi ed Lockdown where he does not have
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proper access to a Law Library, .due to the COVID-19

OUTBREAK . . ·



       Hence, Defendant herein prays that this Honorable Court

GRANT him Compassionate Release.          Because Defendant files

this Emergency Motion more than 30 days [afterl submitting

his Compassionat e Release request with the Warden, this

Honorable Court may address the merits of his motion and

appoint Court Appointed Counsel.



                                CONCLUSION



       WHEREFORE, Defendant prays that, pursuant to 18 U.S.C.

§   3582   (c) {1)   (A), as amended, this term of imprisonment be

modified to time-served, all as more fully set out in any

brief or supplement Motion that may be filed by the Court

APPOINTED COUNSEL assigned by this Honorable Court.



       Defendant furthermore prays for all further RELIEF to

which he may be entitled to in this proceeding in the

interest of justice.



                                 Respectfully submitted,



                                    /t,vvJl,/
                                 Jarrfes Goolsby
                                                ~  (PRO SE)
                                 REG. NO. 21248-009
                                 U.S. PENITENTIARY
                                 P.O. BOX 1000
                                 LEAVENWORTH, KS 66048
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                     CERTIFICATE OF SERVICE



     I~ James Goolsby, hereby certify that I have

forwarded a true and correct copy of the foregoing

instrument by the method indicated to all counsel of record
listed below on the!_$, day of November, 2020 .



(U.S. FIRST CLASS MAIL)

U.S. ATTORNEY
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